Case 21-04019-KKS Doc13-1 Filed 07/22/21 Page 1 of 2

FLNB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: _ Plaintiff Ex. # 62

Admitted: Yes er No (circle one)

Debter: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Adv. Now

Nature of Hearing/

Decket No:

Dated 07/22 , 2021.

 

By: - Deputy Clerk
“

Case 21-04019-KKS Doc13-1 Filed 07/22/21 Page 2 of 2

To: United States Department of Education November 22, 2017
OMB NO: 1845-0146

Re: ‘1 Request to discharge student loans received at St. Matthews's University School of Medicine
{SMUSOM),

iL Request to discharge student loans prior to SMUSOM.

iii. Notice of Petitioner's right to rescind ‘the contracts.

TV. 12 questions.
V. Freedom of Information Act (FOIA) request- (sent to Washington D.C, FOIA Office).
VL. Request for relief, (Order for Settlement Agreement and Fulfillment).

VIL Oath and Affidavit.

FHIRD AND FINAL NOTICE
PLEASE DO NOT IGNORE

 

‘Bear Sir-or Madam:

Petitioner is unable to afford the full cost of printing or mailing the printed product. Petitioner provides a

  
 
     
   
  

 

 

printed copy of sections 1-VH. Documentary and video-exhibits however have be sovided. act disk ees
oe "+ BRST CUBS Lact: eae a
and Petitioner requests the Department print these.. ‘ oa =i 2 Elta DPV 03 =] | = ce
eek
This letter is relatedto- two related cases filed inthe ‘11 “y ea a
, . . SAR ERENCE z 4 ERG He
On or about 02/24/2016, a Wendell Washington signed fo} Fy loaned S ae mt € Me = “een
Ame Duncan, containing a 91 page complaint, 293 documentary ¢ - te er iz,
3 7 \ outp, I
that St. Matthews University School of Medicine misrepresented |2 IN S é
Petitionei’s meilical school records, and then covered up that loss. o ee
i 14/24/2017

 

burden of proof has not been satisfied. This notice has 7 parts, |

suaax US Department of Education ——......_
tay-se, PO Box 194407 vee |
, San Francisco CA 94119

pie eemoe eel

7045

video exhibits.

 

 
 
   

 

l urge the Department to cooperate and to please help end

Please respond within 30

 

 

 

 

 

 

 

 

 

; % Complete items 1, 2, and 3. A, Signature
Please feel free to contact m @ Print your name and address on the reverse x : ‘Agent ¢
. so that we can return the card to you. fh gebstetn Atidrassee
Sincerely, " Attach this card to the back of the mailpiece, B, Received'by PrpteeName) G. Date of Delivery
Julian Rodney Rooks Ir. at on the front if space permits, - } /3
DOB: 11-30-1966 "4. Alficle Addressed to: B. ts delivery address different from item 17 ‘© Yes
; : , . HYES, enter delivery address below: == [] No
SS# GIBB 0775 ; . US Department of Education
3648 Dartford Lane PO Box 194407
Tallahassee, Florida ox”
(850) 329-7019 . - San Francisco CA 94119
fulianrooks@yahoo.com a .
3. Service Type - OF Priority Mall Expressé
0D Adult Signature O Registered Mai™
CUT ICTTHTIG (BS8 none Bee
Ci Certified Mate Delivery
S590 $403 0103 5077 6519 36 (I Certiod Mall Restiotod Delivery 11 Fletum Receipt fer
“@  Brialo Mimber Jranefar fam onnsnelinknl TT Gollert on Daivery Resticted Delvery 01 Signature Gonfirmation™

 

 

POLS LEGO BOO 8533 BUOY tenationastiny  Recited Deva

 

a
SPIO Penn OG A Ane eee ne
